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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA

               v.                                     Criminal No. 19-cr-18-ABJ

    ROGER J. STONE, JR.,

                               Defendant.


       GOVERNMENT’S SUR-REPLY TO DEFENDANT’S MOTION TO SUPPRESS

         The Government files this sur-reply to correct a misstatement in the defendant’s Reply to

Government’s Opposition to Motion to Suppress. Stone asserts that the government did not

“collect[] any evidence of the DNC breach directly” or “independently verify” the findings of

Company 1 about Russia’s involvement in the hack of DNC computer systems. Doc. 133, at 4;

see is. at 2-4, 11. That statement is incorrect. The investigation that led to the indictment in

United States v. Netyksho, No. 18-cr-215 (D.D.C.), gathered evidence showing that GRU officers

hacked the DNC systems (as well as the DCCC and email accounts of people working for the

presidential campaign of Hillary Clinton), published hacked information pseudonymously, and

transferred stolen data to Organization 1. See generally Indictment, Netyksho, supra (Doc. 1).

As the government has argued (Doc. 122, at 6, 9, 14), Russia’s role in the DNC hack is not material

to the eighteen findings of probable cause that Stone appears to be challenging. Nor does it bear

on the charges at issue in this case—making false statements to Congress, obstruction of Congress,

and witness tampering. See Doc. 93, at 9 n.1; Doc. 94, at 6-7. * The government therefore has

not produced in discovery to Stone all of the evidence gathered in the Netyksho investigation. The


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    The government intends to file a motion in limine on this topic.
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government produced the CrowdStrike reports because the Indictment in this case referenced, as

background, CrowdStrike’s statements about the DNC hack.             Stone’s statement that the

government has no other evidence is not only irrelevant to this proceeding but is also mistaken.

The government accordingly wishes to correct any misimpression.



                                                     Respectfully submitted,


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